       Case 1:21-cr-00053-CJN           Document 23-1            Filed 06/14/21       Page 1 of 2




                                                             U.S. Department of Justice

                                                             Channing D. Phillips
                                                             Acting United States Attorney

                                                             District of Columbia


                                                             Judiciary Center
                                                             555 Fourth St., N.W.
                                                             Washington, D.C. 20530


                                                       June 14, 2021

VIA USAFX and e-mail
Marty Tankleff
martytankleff@gmail.com
Steven A. Metcalf II
metcalflawnyc@gmail.com
Counsel for Edward Jacob Lang

                                        Re:    United States v. Edward Lang
                                               21-CR-53 - Production 6

Dear Counsel:

       Pursuant to our discovery obligations, we are providing the following files via USAfx:

   •    All of the files listed in the index in Exhibit A.

(As with all files uploaded to USAfX, they automatically delete after 60 days per the automatic
retention policy in place. Please download the files before then.)

       Note that all these files are currently being formally processed for discovery by the
discovery team assigned to the Capitol Riots cases. As such, the same files will be re-produced
with bates-stamps at a later date. Nevertheless, we wanted to provide you what we can now as
we wait for this processing to be finalized.

Upcoming Discovery

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
       Case 1:21-cr-00053-CJN          Document 23-1        Filed 06/14/21      Page 2 of 2




that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.




Enclosure(s):
cc:


                                                 2
